             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                CRIMINAL DOCKET NO.: 3:05CR104-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                    ORDER
                                    )
RODGRICK FRIESON (18),              )
                                    )
            Defendant.              )
____________________________________)


        THIS MATTER is before the Court on the Government=s ANotice of Appeal and Motion

for Revocation and Stay of Magistrate Judge=s Release Order,@ filed October 5, 2005. On that

same date, the defendant was brought before Magistrate Judge Carl Horn, III for a bond review

hearing. At the conclusion of that hearing, the Magistrate Judge ordered the defendant released.

        Pursuant to 18 U.S.C. '3145(a)(1), this Court will stay the Magistrate Judge=s release

order pending a ruling by this Court on the Government=s Motion to Revoke the Release Order.

        IT IS, THEREFORE, ORDERED that the Government=s motion to stay is hereby

GRANTED, and the defendant shall be DETAINED until further order of this Court. The Court

will notify the parties at a later date if a hearing in this matter is necessary.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal Service, Defense Counsel and the United States Attorney's Office.




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                        Signed: October 5, 2005




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